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21                                                              ULC; and People Media, Inc.
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     Caption continued on next page.
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                                       DECLARATION OF LAUREN A. MOSKOWITZ
             Case Nos. 3:21-md-02981-JD, 3:22-cv-02746-JD, 3:20-cv-05671-JD, 3:20-cv-05761-JD & 3:21-cv-05227-JD
       Case 3:21-md-02981-JD Document 608-1 Filed 09/21/23 Page 2 of 5



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 9                                 UNITED STATES DISTRICT COURT

10                              NORTHERN DISTRICT OF CALIFORNIA

11                                       SAN FRANCISCO DIVISION

12
13 IN RE GOOGLE PLAY STORE ANTITRUST                         Case No. 3:21-md-02981-JD
   LITIGATION
14                                                           DECLARATION OF LAUREN A.
   THIS DOCUMENT RELATES TO:                                 MOSKOWITZ IN SUPPORT OF
15                                                           PLAINTIFFS’ PROPOSED REMEDY RE
                                                             GOOGLE’S DESTRUCTION OF CHAT
16 Epic Games, Inc. v. Google LLC et al.,                    EVIDENCE
   Case No. 3:20-cv-05671-JD
17                                                           Judge: Hon. James Donato
   In re Google Play Consumer Antitrust
18 Litigation, Case No. 3:20-cv-05761-JD
19 State of Utah et al. v. Google LLC et al.,
   Case No. 3:21-cv-05227-JD
20
   Match Group, LLC, et al, v. Google LLC, et al.,
21 Case No. 3:22-cv-02746-JD
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                                     DECLARATION OF LAUREN A. MOSKOWITZ
           Case Nos. 3:21-md-02981-JD, 3:22-cv-02746-JD, 3:20-cv-05671-JD, 3:20-cv-05761-JD & 3:21-cv-05227-JD
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 1
 2         I, Lauren A. Moskowitz, declare as follows:

 3         1.      I am a Partner at Cravath, Swaine & Moore LLP, counsel to Epic Games, Inc.

 4 (“Epic”) in the above-captioned actions. I am admitted to appear before this Court pro hac vice.
 5         2.      I have personal, first-hand knowledge of the facts set forth in this Declaration. If

 6 called as a witness, I could and would competently testify to these facts under oath.
 7         3.      Attached hereto as Exhibit 1 is a true and correct copy of an email thread bearing

 8 the Bates number starting with GOOG-PLAY-000449614.
 9         4.      Attached hereto as Exhibit 2 is a true and correct copy of a document bearing the

10 Bates number starting with GOOG-PLAY4-004258208.
11         5.      Attached hereto as Exhibit 3 is a true and correct copy of a document bearing the

12 Bates number starting with GOOG-PLAY-003332817.R.
13         6.      Attached hereto as Exhibit 4 is a true and correct copy of an email thread bearing

14 the Bates number starting with GOOG-PLAY-001877016.
15         7.      Attached hereto as Exhibit 5 is a true and correct copy of a document bearing the

16 Bates number starting with GOOG-PLAY-004488106.R.
17         8.      Attached hereto as Exhibit 6 is a true and correct copy of a document bearing the

18 Bates number starting with GOOG-RIOT-0000007.
19         9.      Attached hereto as Exhibit 7 is a true and correct copy of an email thread bearing

20 the Bates number starting with GOOG-PLAY-000928690.
21         10.     Attached hereto as Exhibit 8 is a true and correct copy of a document bearing the

22 Bates number starting with GOOG-PLAY-004538757.R.
23         11.     Attached hereto as Exhibit 9 is a true and correct copy of a Google Chat conversation

24 bearing the Bates number starting with GOOG-PLAY-003600814.
25         12.     Attached hereto as Exhibit 10 is a true and correct copy of a Google Chat

26 conversation bearing the Bates number starting with GOOG-PLAY-005601967.
27         13.     Attached hereto as Exhibit 11 is a true and correct copy of a document bearing the

28 Bates number starting with GOOG-PLAY-010849896.

                                      DECLARATION OF LAUREN A. MOSKOWITZ
            Case Nos. 3:21-md-02981-JD, 3:22-cv-02746-JD, 3:20-cv-05671-JD, 3:20-cv-05761-JD & 3:21-cv-05227-JD
        Case 3:21-md-02981-JD Document 608-1 Filed 09/21/23 Page 4 of 5



 1         14.     Attached hereto as Exhibit 12 is a true and correct copy of a document bearing the

 2 Bates number starting with GOOG-PLAY-004123102.
 3         15.     Attached hereto as Exhibit 13 is a true and correct copy of a Google Chat

 4 conversation bearing the Bates number starting with GOOG-PLAY5-000457173.
 5         16.     Attached hereto as Exhibit 14 is a true and correct copy of a Google Chat

 6 conversation bearing the Bates number starting with GOOG-PLAY5-000500320.
 7         17.     Attached hereto as Exhibit 15 is a true and correct copy of a document bearing the

 8 Bates number starting with GOOG-PLAY-004146689.R.
 9         18.     Attached hereto as Exhibit 16 is a true and correct copy of an email thread including

10 Brian Rocca and Zachary Jarrett et al titled “Search Term – Agreement.”
11         19.     Attached hereto as Exhibit 17 is a true and correct copy of a document bearing the

12 Bates number starting with GOOG-PLAY-010662562.
13         20.     Attached hereto as Exhibit 18 is a true and correct copy of a Google Chat

14 conversation bearing the Bates number starting with GOOG-PLAY5-000453593.
15         21.     Attached hereto as Exhibit 19 is a true and correct copy of excerpts from the

16 deposition transcript of Lawrence Koh, who was deposed in this litigation on December 9, 2021.
17         22.     Attached hereto as Exhibit 20 is a true and correct copy of excerpts from the

18 deposition transcript of Michael Marchak, who was deposed in this litigation on January 12, 2022.
19         23.     Attached hereto as Exhibit 21 is a true and correct copy of excerpts from the

20 deposition transcript of James Kolotouros, who was deposed in this litigation on February 2, 2022.
21         24.     Attached hereto as Exhibit 22 is a true and correct copy of a Google Chat

22 conversation bearing the Bates number starting with GOOG-PLAY5-000364738.
23         25.     Attached hereto as Exhibit 23 is a true and correct copy of a Google Chat

24 conversation bearing the Bates number starting with GOOG-PLAY5-000500584.
25         26.     Attached hereto as Exhibit 24 is a true and correct copy of a Google Chat

26 conversation bearing the Bates number starting with GOOG-PLAY5-000088223.
27         27.     Attached hereto as Exhibit 25 is a true and correct copy of excerpts from the

28 deposition transcript of Christopher Li, who was deposed in this litigation on May 25, 2022.

                                      DECLARATION OF LAUREN A. MOSKOWITZ
            Case Nos. 3:21-md-02981-JD, 3:22-cv-02746-JD, 3:20-cv-05671-JD, 3:20-cv-05761-JD & 3:21-cv-05227-JD
        Case 3:21-md-02981-JD Document 608-1 Filed 09/21/23 Page 5 of 5



 1         28.     Attached hereto as Exhibit 26 is a true and correct copy of excerpts from the

 2 deposition transcript of Donald Harrison, who was deposed in this litigation on August 23, 2022.
 3         29.     Attached hereto as Exhibit 27 is a true and correct copy of excerpts from the

 4 deposition transcript of Purnima Kochikar, who was deposed in this litigation on August 31, 2022.
 5         30.     Attached hereto as Exhibit 28 is a true and correct copy of a Google Chat

 6 conversation bearing the Bates number starting with GOOG-PLAY5-000484339.
 7         31.     Attached hereto as Exhibit 29 is an excerpt of a true and correct copy of the

 8 January 12, 2023 transcript of proceedings from In re Evidentiary Hearing on Chat Preservation.
 9         32.     Attached hereto as Exhibit 30 is a true and correct copy of excerpts from the

10 deposition transcript of Sundar Pichai, who was deposed in this litigation on February 27, 2023.
11         33.     Attached hereto as Exhibit 31 is a true and correct copy of an excerpt of the trial

12 transcript from the matter United States et al., vs. Google LLC, No. 1:20-cv-3010 (D.D.C), dated
13 September 15, 2023.
14         34.     Attached hereto as Exhibit 32 is a true and correct copy of a webpage titled

15 “Listening to Developer Feedback to Improve Google Play,” dated September 28, 2020 and
16 available at https://android-developers.googleblog.com/2020/09/listening-to-developer-feedback-
17 to.html#:~:text=Listening%20carefully%20to%20their%20feedback,Policies%20based%20on%2
18 0developer%20feedback.
19         35.     Attached hereto as Exhibit 33 is a true and correct copy of a webpage titled

20 “Boosting developer success on Google Play,” dated March 16, 2021 and available at
21 https://android-developers.googleblog.com/2021/03/boosting-dev-success.html.
22
23         Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

24 and correct and that I executed this declaration on September 21, 2023 in Short Hills, New Jersey.
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26                                                              /s/ Lauren A. Moskowitz
                                                                Lauren A. Moskowitz
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                                      DECLARATION OF LAUREN A. MOSKOWITZ
            Case Nos. 3:21-md-02981-JD, 3:22-cv-02746-JD, 3:20-cv-05671-JD, 3:20-cv-05761-JD & 3:21-cv-05227-JD
